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              United States Court of Appeals
                           For the First Circuit

  No. 18-1514

                       COMMONWEALTH OF MASSACHUSETTS,

                            Plaintiff, Appellant,

                                       v.

        UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES;
   ALEX MICHAEL AZAR II, in his official capacity as Secretary of
      Health and Human Services; UNITED STATES DEPARTMENT OF THE
       TREASURY; STEVEN T. MNUCHIN, in his official capacity as
    Secretary of the Treasury; UNITED STATES DEPARTMENT OF LABOR;
           R. ALEXANDER ACOSTA, in his official capacity as
                          Secretary of Labor,

                           Defendants, Appellees.


              APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

            [Hon. Nathaniel M. Gorton, U.S. District Judge]


                                     Before

                      Torruella, Lynch, and Thompson,
                              Circuit Judges.


       Julia E. Kobick, Assistant Attorney General, with whom Maura
  Healey, Attorney General of Massachusetts, Jon Burke, Assistant
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  Family Planning and Reproductive Health Association.
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  Attorney General of Hawai'i, Thomas J. Miller, Attorney General of
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  Additional Professional, Labor, and Student Associations.

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              TORRUELLA,    Circuit     Judge.1        The    Commonwealth     of

  Massachusetts brought suit on October 6, 2017, to enjoin the

  enforcement of two federal Interim Final Rules (together, the

  "IFRs") promulgated by the United States Departments of Health and

  Human    Services     ("HHS"),      Labor,    and     the     Treasury     (the

  "Departments"), which were to become effective that day.                   See

  Religious Exemptions and Accommodations for Coverage of Certain

  Preventive Services Under the Affordable Care Act, 82 Fed. Reg.

  47,792 (Oct. 13, 2017); Moral Exemptions and Accommodations for

  Coverage of Certain Preventive Services Under the Affordable Care

  Act, 82 Fed. Reg. 47,838 (Oct. 13, 2017).

              The IFRs permitted employers with religious or moral

  objections to contraception to obtain exemptions from providing

  health insurance coverage to employees and their dependents for

  Food and Drug Administration ("FDA")-approved contraceptive care.

  Such coverage would otherwise be required by guidelines issued

  pursuant to a provision in the Affordable Care Act, subject to the

  limitations imposed by the Supreme Court in Burwell v. Hobby Lobby

  Stores, Inc., 573 U.S. 682 (2014).

              These IFRs were superseded by final rules (the "Final

  Rules"), promulgated on November 15, 2018, with an effective date

  of January 14, 2019.      Religious Exemptions and Accommodations for


  1  I am particularly appreciative               of   my    panel   colleagues'
  contributions to this opinion.


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  Coverage of Certain Preventive Services Under the Affordable Care

  Act, 83 Fed. Reg. 57,536 (Nov. 15, 2018); Moral Exemptions and

  Accommodations for Coverage of Certain Preventive Services Under

  the Affordable Care Act, 83 Fed. Reg. 57,592 (Nov. 15, 2018).

              After both sides here moved for summary judgment, the

  district court determined that Massachusetts lacked standing to

  challenge the IFRs. Massachusetts v. U. S. Dep't of Health & Human

  Servs., 301 F. Supp. 3d 248, 266 (D. Mass. 2018).            And so, it did

  not reach the merits of the Commonwealth's challenges or its prayer

  for injunctive relief.      The Commonwealth appealed.2

              The issue on appeal is narrow: whether the Commonwealth

  has Article III standing to challenge the rules.           We hold that it

  does.   Specifically, we conclude that: (1) in agreement with the

  position of the United States, the Commonwealth's substantive

  challenges have not been mooted by the promulgation of the Final

  Rules, but the Commonwealth's procedural challenge to the IFRs has

  been mooted; and (2) the Commonwealth has established Article III

  standing to challenge the substance of the rules by demonstrating

  a sufficiently imminent fiscal injury under a traditional standing

  analysis (and so we do not reach the Commonwealth's alternative

  parens patriae standing argument).




  2  We appreciate the numerous amici who submitted briefs to this
  court.


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                                          I.

  A.    Factual Background

        1.     The Affordable      Care    Act   and   the   Contraceptive   Care
               Requirement

               The   Affordable    Care    Act    requires   employer-sponsored

  health plans to provide coverage for a range of preventive care

  and related medical services at no cost to the covered employee.

  See 42 U.S.C. § 300gg-13(a).3           A provision commonly known as the

  Women's Health Amendment requires coverage for, "with respect to

  women, such additional preventive care and screenings . . . as

  provided for in comprehensive guidelines supported by the Health

  Resources and Services Administration."4             Id. § 300gg-13(a)(4).

               While the Women's Health Amendment did not indicate the

  additional preventive care services that must be covered, it

  instructed    the    Health     Resources      and   Services   Administration

  ("HRSA"), part of HHS, to determine the specifics of such required



  3  Employers who provide health plans that existed before March
  23, 2010, and who have not made specified changes after that date
  to their health plans, are not subject to this requirement. 42
  U.S.C. §§ 18011(a), (e).
  4  The IFRs and the statutory provision at issue -- the Women's
  Health Amendment -- discuss only women.       The Commonwealth's
  complaint similarly focuses on women. The denial of coverage for
  contraceptive care and services may directly affect some
  transgender men and gender non-conforming people, as well as
  indirectly affect some men (for example, men who have dependents,
  whether children or partners, who rely on the man's employer-
  sponsored health insurance coverage for contraceptive care and
  services).


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  care and services. See 155 Cong. Rec. 511, 987 (daily ed. Nov. 30,

  2009) (Senate Amendment 2791).

               In August 2011, HRSA accepted the recommendations of the

  Institute of Medicine ("IOM") and issued guidelines requiring

  insurance coverage, at no cost to users, of all "Food and Drug

  Administration . . . approved contraceptive methods, sterilization

  procedures, and patient education and counseling for all women

  with   reproductive    capacity."        Group   Health   Plans   and   Health

  Insurance Issuers Relating to Coverage of Preventive Services

  Under the Patient Protection and Affordable Care Act, 77 Fed. Reg.

  8,725,      8,725   (Feb.     15,    2012)     (quoting   HRSA    Guidelines,

  http://www.hrsa.gov/womens-guidelines).              In its report, the IOM

  made   extensive    factual    findings      about   contraceptive   care   and

  public health outcomes.             See Institute of Medicine, Clinical

  Preventive Services for Women: Closing the Gaps (2011).                  Plans

  within the guidelines' ambit had to provide such contraceptive

  coverage for plan years starting on or after August 1, 2012.5               See

  77 Fed. Reg. at 8,725-26.

         2.    The Departments' Regulations and Related Litigation from
               2010 to 2016

               Concurrently, the Departments promulgated regulations,

  which became final in February 2012, that provided an exemption


  5 The Departments estimated in 2017 that about "46.6 million women
  aged 15 to 64 received the [contraceptive and related] coverage
  through employer sponsored private insurance plans," 82 Fed. Reg.

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  from     the    requirement     to    provide       contraceptive        coverage   to

  "churches,       their     integrated   auxiliaries,         and   conventions      or

  associations          of    churches"    with       religious       objections      to

  contraception.         76 Fed. Reg. at 46,623; see also 77 Fed. Reg. at

  8,725.

                 Later regulations also created what the Departments

  termed an "accommodation" process.            Coverage of Certain Preventive

  Services Under the Affordable Care Act, 78 Fed. Reg. 39,870

  (July 2, 2013).            This process allowed nonprofit organizations,

  including colleges and universities, to submit a form to their

  health insurance issuers asserting their religious objections to

  contraception.         See id. at 39,874-77.          The insurance issuer was

  then required to remove contraceptive coverage from the objecting

  organization's         plan,   but   still    had    to   provide    contraceptive

  coverage to members of the plan (without directly involving the

  objecting organization) (the "Accommodation").                  Id. at 39,875-80.

                 On June 30, 2014, the Supreme Court held in Hobby Lobby

  that   the      contraceptive     regulatory        requirement     as    applied   to

  closely        held    corporations     violated       the    Religious       Freedom

  Restoration Act ("RFRA"), 42 U.S.C. § 2000bb-1 et seq.                       573 U.S.



  at 47,821, and cited studies showing "that application of HRSA
  Guidelines had applied preventive services coverage to 55.6
  million women and had led to a 70 percent decrease in out-of-
  pocket expenses for contraceptive services among commercially
  insured women," id. at 47,805.


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  at 736.     That was because the regulations "clearly impose[d] a

  substantial burden" on closely held employers who had religious

  objections to contraception, and the regulations were not the least

  restrictive means of furthering a compelling government interest

  (assuming arguendo that one existed).             Id. at 726, 730-32.     The

  Supreme Court noted that the Accommodation already available to

  nonprofit     organizations    with    religious     objections   was    less

  restrictive    than   "requiring      employers    to   fund   contraceptive

  methods that violate their religious beliefs."            Id. at 730.

              After Hobby Lobby, the Departments issued a new rule in

  2015 which allowed "Closely Held for-Profit Entit[ies]" who had

  religious objections to providing contraceptive coverage to use

  the Accommodation process described above.              Coverage of Certain

  Preventive Services Under the Affordable Care Act, 80 Fed. Reg.

  41,318, 41,323 (July 14, 2015).

              Nevertheless,         numerous         religious       nonprofit

  organizations sued to obtain an exemption similar to that provided

  to churches rather than the more limited Accommodation process

  (which still allowed for contraceptive coverage for employees of

  the objecting organizations).         Nine circuits considered the issue

  from late 2014 to early 2016.               Eight circuits held that the

  Accommodation did not substantially burden religious exercise; one




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  held that it did.6      The Supreme Court granted certiorari in some

  of these cases (from the Third, Fifth, Tenth, and D.C. Circuits).

  In a per curiam opinion, it vacated and remanded, instructing that

  the parties "be afforded an opportunity to arrive at an approach

  going forward that accommodates petitioners' religious exercise

  while at the same time ensuring that women covered by petitioners'

  health plans receive full and equal health coverage, including

  contraceptive coverage."       Zubik v. Burwell, 136 S. Ct. 1557, 1560

  (2016) (per curiam) (internal quotation marks omitted).

              After Zubik, the Departments sought comment in July 2016

  through a request for information, seeking alternative ways in

  which the contraceptive coverage mandate and employers' religious

  beliefs could coexist.        Coverage for Contraceptive Services, 81




  6  Specifically, the Second, Third, Fifth, Sixth, Seventh, Tenth,
  Eleventh, and D.C. Circuits held that the Accommodation did not
  substantially burden religious exercise. Eternal Word Television
  Network, Inc. v. Sec'y of U.S. Dep't of Health & Human Servs., 818
  F.3d 1122, 1151 (11th Cir. 2016); Mich. Catholic Conf. & Catholic
  Family Servs. v. Burwell, 807 F.3d 738, 752 (6th Cir. 2015);
  Catholic Health Care Sys. v. Burwell, 796 F.3d 207, 226 (2d Cir.
  2015); Little Sisters of the Poor Home for the Aged, Denver, Colo.
  v. Burwell, 794 F.3d 1151, 1195 (10th Cir. 2015); E. Tex. Baptist
  Univ. v. Burwell, 793 F.3d 449, 463 (5th Cir. 2015); Univ. of Notre
  Dame v. Burwell, 786 F.3d 606, 619 (7th Cir. 2015); Geneva Coll.
  v. Sec'y U.S. Dep't of Health & Human Servs., 778 F.3d 422, 442
  (3d Cir. 2015); Priests for Life v. U.S. Dep't of Health & Human
  Servs., 772 F.3d 229, 252 (D.C. Cir. 2014). The Eighth Circuit
  held that the Accommodation process substantially burdened
  religion and faltered under strict scrutiny.      Sharpe Holdings,
  Inc. v. U.S. Dep't of Health & Human Servs., 801 F.3d 927, 945-46
  (8th Cir. 2015). All were vacated as a result of or in light of
  Zubik v. Burwell, 136 S. Ct. 1557 (2016) (per curiam).

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  Fed.   Reg.    47,741,    47,741    (July    22,    2016).      The    Departments

  ultimately     stated     that,    though    they    received    54,000    public

  comments after this request, "includ[ing] [from] the plaintiffs in

  Zubik, . . . consumer advocacy groups, women's organizations [and]

  health insurance issuers," by September 20, 2016, "no feasible

  approach has been identified at this time that would resolve the

  concerns of religious objectors, while still ensuring that the

  affected women receive full and equal health coverage, including

  contraceptive coverage."          United States Department of Labor, FAQs

  About Affordable Care Act Implementation Part 36, at 4 (Jan. 9,

  2017).

         3.     President's Executive Order and Interim Final Rules on
                Exemptions

                On May 4, 2017, the President issued an Executive Order

  "Promoting Free Speech and Religious Liberty."                  Exec. Order No.

  13,798, 82 Fed. Reg. 21,675 (May 4, 2017).               This Order directed

  the    Departments       to   "consider      issuing   amended        regulations,

  consistent     with   applicable      law,    to    address   conscience-based

  objections to the preventive-care mandate promulgated under [42

  U.S.C. §] 300gg-13(a)(4)."         Id.

                Several months later, the Departments issued two IFRs:

  a religious exemption IFR and a separate moral exemption IFR, both

  effective immediately on publication, on October 6, 2017.                  See 82

  Fed. Reg. at 47,792; 82 Fed. Reg. 47,838.                The IFRs included a



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  request for further comments before final rulemaking.                          82 Fed.

  Reg. at 47,792; 82 Fed. Reg. at 47,838.                The Departments did not

  go through the notice and comment process before issuing the IFRs,

  asserting first that these procedures did not apply, and second,

  that    if    the   Administrative       Procedure     Act   ("APA")      procedures

  applied, the "good cause" exception to notice and comment allowed

  for     the   Departments'      chosen     approach,     see   5    U.S.C.        § 553

  (b)(1)(B),(d); 82 Fed. Reg. at 47,813-15; 82 Fed. Reg. at 47,854-

  56.

                The   religious     exemption      IFR   expanded         the    previous

  exemption (which had covered only churches and related entities,

  see 76 Fed. Reg. at 46,623) to include nonprofit organizations,

  corporations,       institutions     of     higher     education,        and     health

  insurance      issuers   that     object   to    "establishing,         maintaining,

  providing,      offering,    or    arranging     (as    applicable)           coverage,

  payments, or a plan that provides coverage or payments for some or

  all contraceptive services, based on its sincerely held religious

  beliefs."      82 Fed. Reg. at 47,835.

                The moral exemption IFR created a similar exemption but

  based    on    "sincerely    held    moral      convictions"       as    opposed     to

  "sincerely held religious beliefs."               82 Fed. Reg. at 47,853-54.

  This second IFR did not define the term "moral conviction." Unlike

  the religious exemption, this exemption did not apply to publicly

  traded corporations; it did apply to privately held corporations.


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  See id. at 47,849-52.      Both IFRs allowed an objecting organization

  to use either the expanded exemptions (which would then leave their

  employees      and/or    students     without     direct     coverage     for

  contraceptive care and service), or the Accommodation (under which

  employees and/or students would continue to receive contraceptive

  care and services paid for and managed by the issuer, not by the

  employer or school).      See 82 Fed. Reg. at 47,812-13; 82 Fed. Reg.

  at 47,854.

               The Departments included a regulatory impact analysis in

  the IFRs (the "Regulatory Impact Analysis"), see 82 Fed. Reg. at

  47,815-28; 82 Fed. Reg. at 47,856-59, as required by law, see

  Regulatory Planning and Review, Executive Order 12,866, 58 Fed.

  Reg. 51,735 (Oct. 4, 1993).        In their Regulatory Impact Analysis,

  the Departments estimated that, nationwide, between about 31,700

  and 120,000 women would be affected by the expanded exemptions.

  See 82 Fed. Reg. at 47,821-23.7         In so doing, they accounted for

  various factors that could skew the estimates.            For example, they

  excluded publicly traded corporations from the estimates, as the

  Departments stated that "although publicly traded entities could

  make use of exempt status under these interim final rules, the




  7  The Commonwealth and several amici challenge these estimates as
  too low, arguing, for example, that they rely on data about women
  using a contraceptive method at a point-in-time rather than over
  time, and that the estimates do not adequately consider the impact
  of the untested moral exemption.

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  Departments do not expect that very many will do so."                   82 Fed.

  Reg. at 47,817.        This was based primarily on the fact that, at

  that point, "[n]o publicly traded for-profit entities ha[d] filed

  lawsuits challenging the Mandate."           Id.

                 The Departments based their lower bound estimate of

  31,700    women    partially   on    the   number    of    employers   that   had

  previously challenged the contraceptive coverage requirement in

  litigation, and partially on an estimate of the number of employers

  using    the    Accommodation.       See   82   Fed.   Reg.    47815-21.       The

  Departments acknowledged that they had "not received complete data

  on the number of entities actually using the accommodation, because

  the accommodation does not require many accommodated entities to

  submit information to us."          Id. at 47,817.

                 To calculate an "upper bound" of 120,000 women likely to

  lose contraceptive coverage because of the IFRs, the Departments

  started    from     the   number     of    women    that    used   FDA-approved

  contraceptives but were employed by entities that did not cover

  such care before the Affordable Care Act was enacted, relying on

  a survey from the Kaiser Family Foundation.                Id. at 47,822.     This

  estimate did not consider employees of the "31 percent of survey

  respondents that did not know about contraceptive coverage."                  Id.

  at n.88.       After reducing the extrapolated numbers to account for

  already exempt church plans and the assumption that publicly-

  traded employers would not make use of the expanded exceptions,


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  the Departments reached an amount of 362,100 women.                        From there,

  the Departments calculated their final "upper bound" estimate of

  120,000 women based on the view that a "reasonable estimate is

  that no more than approximately one third of the persons covered

  by relevant entities . . . would likely be subject to potential

  transfer impacts."         Id. at 47,823.            The Departments based this

  "one   third"      estimate    on    several      factors,    including      employers

  potentially objecting to only certain contraceptive methods and a

  "prominent poll" purporting to "show[] that 89 percent of Americans

  say they believe in God, while 11 percent say they do not or are

  agnostic."      Id.

               The      Departments     then       estimated    an    "average    annual

  expenditure on contraceptive products and services of $584 per

  user," so a "transfer effect[]" attributable to the IFRs of between

  about $18.5 and $63.8 million annually nationwide.                    Id. at 47,823-

  24.    In a footnote, the Departments also noted the "noteworthy

  potential    impact[]"        of    "increased      expenditures      on    pregnancy-

  related medical services," but did not provide a numerical estimate

  of such expenditures (or of how many women might face unintended

  pregnancies due to the IFRs).              Id. at 47,828 n.113.

               In their Regulatory Impact Report, the Departments also

  included    spreadsheets         listing     either    litigating      employers    or

  employers currently using the Accommodation that the Departments

  flagged     could       switch      to     the     expanded        exemption.    Three


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  Massachusetts employers were listed.

        4.    Relevant Commonwealth Laws and Public Health Structure

               The Commonwealth legislature has enacted two laws that

  are relevant to this case and factor into the Commonwealth's claims

  of injury.      In 2002, the legislature passed "An Act Providing

  Equitable Coverage of Services Under Health Plans," see 2002 Mass.

  Acts ch. 49, §§ 1-4, which required employer-sponsored health

  plans to cover contraceptive care and services at the same level

  that the plans covered other outpatient care and services, see

  Mass. Gen. Laws ch. 175, § 47W; id. Mass. Gen. Laws ch. 176A, § 8W;

  id. Mass. Gen. Laws ch. 176B, § 4W; id. Mass Gen. Laws ch. 176G,

  § 4O. Under this Act, people using contraceptive care and services

  pursuant to insurance plans could be required to pay cost-sharing

  fees such as deductibles and copays for the care and services.

  Moreover, in November 2017, the Commonwealth legislature passed

  "An Act Relative to Advancing Contraceptive Coverage and Economic

  Security in Our State" (the "ACCESS Act"), which barred employer-

  sponsored    health   plans    from   collecting    cost-sharing    fees    for

  contraceptive     care   and   services.     2017    Mass.   Acts   ch.    120,

  § 4(e)(1).    The ACCESS Act did not provide any moral exemption for

  employers, but did provide an exemption for churches and "qualified

  church-controlled organization[s]."          Id. § 3.

               Importantly, Massachusetts healthcare laws -- including

  the ACCESS Act and the earlier Equitable Coverage law -- do not


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  apply to self-insured plans, because such plans come under the

  Employee Retirement Income Security Act of 1974 ("ERISA") (which

  preempts state regulation).        29 U.S.C. §§ 1144(a) & (b)(2)(A).         A

  study submitted by the Commonwealth shows that, as of March 2017,

  fifty-six    percent   of   Commonwealth    residents    who    have   private

  commercial health insurance had such insurance from ERISA plans.

  Center for Health Information and Analysis, Enrollment Trends:

  August 2017 Edition, Ctr. For Health Info. And Analysis 3 (2017).

  Thus, to the extent the ACCESS Act and the Equitable Coverage law

  mitigate any injury done by the IFRs, that mitigation does not

  apply to fifty-six percent of the Commonwealth's residents who

  have private ERISA-covered insurance.

               The Commonwealth also provides health services to about

  two million Commonwealth residents through its Medicaid program,

  the MassHealth Program.        Massachusetts, 301 F. Supp. 3d at 255-

  56. This program provides access to contraceptives. See 130 Mass.

  Code   Regs.   450.105    ("The   following   services    are   covered   for

  MassHealth Standard members . . . [:] family planning services.").

  MassHealth also serves as a "secondary payer" for about 150,000

  residents.     This means that qualifying residents with employer-

  sponsored plans who lose contraceptive coverage would then be

  covered by MassHealth, and the Commonwealth would owe ten percent

  of the cost of contraceptive coverage paid by MassHealth (and so

  ten percent of the cost for loss of coverage occasioned by the


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  IFRs).     See 42 U.S.C. § 1396b(a)(5); Robert Seifert & Stephanie

  Anthony, The Basics of MassHealth, Mass. Medicaid Policy Inst. 3

  (Feb. 2011).

               In addition to the MassHealth program, the Sexual and

  Reproductive     Health     Program     ("SRHP")     of    the     Commonwealth's

  Department of Public Health reimburses groups and clinics that are

  providing contraceptive care and services in the Commonwealth.

  Services    funded    by   the   SRHP    are     available    to   Massachusetts

  residents that either (1) do not have insurance and make less than

  300% of the poverty level; (2) need confidential care; or (3) make

  less than 300% of the poverty level and have insurance that does

  not cover all contraception methods and services.                  See 101 Mass.

  Code Regs. 312.00.     The Commonwealth provides about three-quarters

  of SRHP's total funding.         Massachusetts, 301 F. Supp. 3d at 256.

  B.      Procedural History of This Litigation

               The Commonwealth filed suit to enjoin the IFRs in October

  2017.    The Commonwealth included, with its amended complaint filed

  in November 2017, various declarations from medical professionals,

  state    officials,   the    CEO   of    a     partially   Commonwealth-funded

  nonprofit organization specializing in "sexual and reproductive

  health," and an investigator, all in support of its assertion that

  the Commonwealth would be harmed by the IFRs.                These declarations

  are discussed further below where relevant.




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              Both sides moved for summary judgment. In its memorandum

  in opposition to defendants' cross-motion to dismiss or for summary

  judgment, the Commonwealth asserted standing based on a procedural

  injury, financial harm, and harm to the Commonwealth's quasi-

  sovereign     interests.        The      Departments     asserted   that     the

  Commonwealth's      projections    of    injury   were   too   speculative   to

  support standing.

              This case is in an unusual posture for the following

  reasons.     When filed, it was brought as a pre-enforcement suit.

  Before the district court ruled on the cross motions for summary

  judgment,     two     federal     district      courts    issued    nationwide

  injunctions blocking the IFRs, after finding that the plaintiff

  states had standing.        See California v. Health & Human Servs.

  ("California I"), 281 F. Supp. 3d 806, 832 (N.D. Cal. 2017);

  Pennsylvania v. Trump ("Pennsylvania I"), 281 F. Supp. 3d 553, 585

  (E.D. Pa. 2017).       The former injunction, out of California, was

  modified to include only the plaintiff states.             See California v.

  Azar ("California II"), 911 F.3d 558, 585 (9th Cir. 2018).                   The

  IFRs were only effective in the Commonwealth, then, for about two

  months.     There is no suggestion in the record that, during those

  two   months,    it   was   possible     to    measure   any   injury   to   the

  Commonwealth's interests, much less to measure projected future

  injury from this period.          Indeed, under the religious exemption

  IFR, "[i]f contraceptive coverage is currently being offered by an


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  issuer or third party administrator through the accommodation

  process, the revocation will be effective on the first day of the

  first plan year that begins on or after 30 days after the date of

  the revocation," or alternatively sixty days after notice is

  provided.    82 Fed. Reg. at 47,831.           The moral exemption IFR does

  not have a similar rule, likely because no Accommodation process

  existed for organizations with moral objections to contraception

  prior to this IFR.

              On   March    12,   2018,    the   district    court   granted   the

  Departments' motion for summary judgment.            Massachusetts, 301 F.

  Supp. 3d at 266.         The district court held that the Commonwealth

  failed to establish standing because the Commonwealth had not "set

  forth specific facts establishing that it will likely suffer future

  injury from the defendants' conduct."             Id. at 250.      It rejected

  the    Commonwealth's       proportional       argument,     based    on     the

  Departments' own estimates of women affected, as too "tenuous,"

  id. at 259, and faulted the Commonwealth for failing to "identify

  any particular woman who is likely to lose contraceptive coverage

  because of the IFRs" or "any Massachusetts employer that is likely

  to avail itself of the expanded exemptions," id. at 265.                     The

  district court similarly rejected the Commonwealth's alternative

  procedural injury and quasi-sovereign harm theories.               Id. at 265-

  66.




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              The Commonwealth appealed.            After the Commonwealth filed

  its opening brief, the Departments issued Final Rules superseding

  the IFRs in November 2018, effective in January 2019.                          83 Fed.

  Reg. at 57,536; 83 Fed. Reg. at 57,592.                  In December 2018, this

  court directed the parties to address, in the remaining briefing,

  whether the appeal was moot. Order, Commonwealth of Mass. v. Dep't

  of Health & Human Servs., et al. (18-1514) (Dec. 21, 2018), ECF

  No. 117.     The parties did so in their response brief and reply

  brief,     respectively,         and     agreed     that      the        Commonwealth's

  substantive arguments as to the IFRs also apply to the Final Rules

  and so that aspect of the case is not moot and should proceed.

              During the briefing of this case, California and another

  group of states, which did not include the Commonwealth, obtained

  an injunction against the Final Rules for the plaintiff states in

  January 2019, see California v. Health & Human Servs. ("California

  III, 351 F. Supp. 3d 1267, 1301 (N.D. Cal. 2019); this decision

  has been appealed.           Pennsylvania and New Jersey, together as

  plaintiffs,      obtained    a   nationwide       injunction        in    January   2019

  against the Final Rules, see Pennsylvania v. Trump ("Pennsylvania

  II"), 351 F. Supp. 3d 791, 835 (E.D. Pa 2019); this decision has

  also been appealed. In both district court cases, the courts found

  Article III standing for the plaintiff states.                  The net effect of

  these    cases   is   that   the       Final    Rules   are   currently       enjoined

  nationwide.


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                                         II.

  A.    Mootness

               We first consider whether the Commonwealth's challenges

  to the rules are moot because the Departments have promulgated

  superseding Final Rules.         A case is moot where it is "impossible

  for   a    court   to   grant   any   effectual   relief   whatever   to   the

  prevailing party."        Chafin v. Chafin, 568 U.S. 165, 172 (2013)

  (quoting Knox v. Serv. Employees Int'l Union, Local 1000, 567 U.S.

  298, 307 (2012)).       The mootness review is grounded in "[t]he case

  or controversy requirement [and] ensures that courts do not render

  advisory opinions."         Overseas Military Sales Corp. v. Giralt-

  Armada, 503 F.3d 12, 16–17 (1st Cir. 2007).            "But as long as the

  parties have a concrete interest, however small, in the outcome of

  the litigation, the case is not moot."              Ellis v. Bhd. of Ry.,

  Airline & S.S. Clerks, Freight Handlers, Express & Station Emps.,

  466 U.S. 435, 442 (1984).

        1.     Mootness of the Substantive Challenges

               Both parties agree that the Commonwealth's substantive

  challenges to the rules have not been mooted by the promulgation

  of the Final Rules.       We still must independently review the issue.

  The parties' view accords with our view, based on Supreme Court




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  and First Circuit caselaw, that this aspect of the case is not

  moot.

               The   challenged    portions     of    the   Final     Rules   are

  sufficiently similar to the IFRs that the case is not moot as to

  the Commonwealth's substantive challenges.             See Ne. Fla. Chapter

  of the Associated Gen. Contractors of Am. v. City of Jacksonville,

  508 U.S. 656, 662 & n.3 (1993) (holding that the case was not moot

  where the statute challenged had been replaced by a different but

  sufficiently similar statute that "disadvantage[d] [plaintiffs] in

  the same fundamental way"); Conservation Law Found. v. Evans, 360

  F.3d 21, 25-30 (1st Cir. 2004) (holding that the case was not moot

  where the framework then in place was "largely an extension" of

  the originally challenged framework).              The Final Rules have not

  excised the features of the IFRs that Massachusetts challenges;

  instead, if they were to harm Massachusetts, they would do so in

  the "same fundamental way" as the IFRs.            City of Jacksonville, 508

  U.S. at 662.       And the Final Rules are not based on "entirely new

  analysis."    Gulf of Me. Fishermen's All. v. Daley, 292 F.3d 84, 90

  (1st Cir. 2002).       Here, the "challenged regulation[s]" are "only

  superficially altered by [the] subsequent regulation[s]."               Evans,

  360 F.3d at 26.        The Departments correctly recognize that the

  "changes are immaterial to the scope of the challenge." Therefore,

  the     Commonwealth's    substantive       challenges    to      the   federal

  regulations are not moot.


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        2.    Mootness of the Procedural Challenge to the IFRs

              Nevertheless,     we   find     that   the   Commonwealth's   APA

  procedural challenge to the IFRs is moot.            Although the IFRs did

  not go through notice and comment rulemaking, the Final Rules

  superseded the IFRs.      83 Fed. Reg. 57592 (Nov. 2018).

              The Final Rules would have become effective as planned

  on January 14, 2019, if not enjoined before that date.             Past that

  date, it would be "impossible for a court to grant any effectual

  relief whatever to the prevailing party" as to the IFRs.              Chafin,

  568 U.S. at 172 (quoting Knox, 567 U.S. at 307).               As the Ninth

  Circuit has stated, there is "no justiciable controversy regarding

  the procedural defects of IFRs that no longer exist."             California

  II, 911 F.3d at 569; see Daley, 292 F.3d at 88 ("[P]romulgation of

  new regulations and amendment of old regulations are among such

  intervening events as can moot a challenge to the regulation in

  its original form."); Nat. Res. Def. Council v. U.S. Nuclear

  Regulatory Comm'n, 680 F.2d 810, 814-15 (D.C. Cir. 1982) (holding

  that a procedural challenge to a regulation promulgated in alleged

  violation of notice and comment requirements became moot due to

  re-promulgation of the rule with notice and comment).

              Levesque, which the Commonwealth relies upon to argue

  that its procedural challenge to the IFRs has not been mooted, is

  distinguishable.     Levesque v. Block, 723 F.2d 175 (1st Cir. 1983).

  In that case, the district court had found the interim rule to be


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  void for "procedural omissions" while it was still in effect.                   Id.

  at 177.      Here, any determination by us as to the validity of the

  IFRs would be made for the first time after they have ceased to

  exist.    We see no point in that.          Moreover, in Levesque, the court

  also considered whether the existing final rule was valid, which

  is not the issue here.          Id. at 187.

  B.     Article III Standing for Substantive Challenges

               We turn to whether the Commonwealth has established

  Article III standing for its substantive challenges to the federal

  regulations.        "[N]o       principle    is    more      fundamental   to   the

  judiciary's proper role in our system of government than the

  constitutional limitation of federal-court jurisdiction to actual

  cases or controversies."          DaimlerChrysler Corp. v. Cuno, 547 U.S.

  332,   341    (2006).      As    one   aspect     of   the    case-or-controversy

  requirement, plaintiffs must "establish that they have standing to

  sue." Raines v. Byrd, 521 U.S. 811, 818 (1997); see also Arizonans

  for Official English v. Arizona, 520 U.S. 43, 64 (1997).                    "[T]he

  standing     inquiry    [is]    focused     on    whether    the   party   invoking

  jurisdiction had the requisite stake in the outcome when the suit

  was filed."      Davis v. Fed. Election Comm'n, 554 U.S. 724, 734

  (2008).

               "The existence of standing is a legal question, which we

  review de novo."        Kerin v. Titeflex Corp., 770 F.3d 978, 981 (1st

  Cir. 2014).      "The party invoking federal jurisdiction bears the


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  burden of establishing" that it has standing.            Lujan v. Defs. of

  Wildlife, 504 U.S. 555, 560 (1992).          There are three requirements

  for Article III standing.         A plaintiff must demonstrate (1) an

  injury in fact which is "concrete and particularized" and "actual

  or imminent, not conjectural or hypothetical," (2) that the injury

  is "fairly traceable to the challenged action," and (3) that it is

  "likely . . . that the injury will be redressed by a favorable

  decision."     Id. at 560 (internal quotation marks and alterations

  omitted).      "In   response    to   a   summary   judgment   motion,"   the

  "specific facts" set forth by a plaintiff "will be taken as true."

  Id. at 561.

              The Commonwealth's primary argument for standing is

  based on a fiscal injury to itself.          In this circuit, "[i]t is a

  bedrock proposition that 'a relatively small economic loss -- even

  an identifiable trifle -- is enough to confer standing.'"             Katz v.

  Pershing, LLC, 672 F.3d 64, 76 (1st Cir. 2012) (quoting Adams v.

  Watson, 10 F.3d 915, 924 (1st Cir. 1993)); see also United States

  v. Students Challenging Regulatory Agency Procedures (SCRAP), 412

  U.S. 669, 690 n.14 (1973) ("We have allowed important interests to

  be vindicated by plaintiffs with no more at stake in the outcome

  of an action than a fraction of a vote[,] a $5 fine and costs[,]

  and a $1.50 poll tax." (internal citations omitted)).

              We hold that the Commonwealth has demonstrated Article

  III standing for its substantive claim based on an imminent fiscal


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  injury that is fairly traceable to the federal regulations and

  redressable    by    a   favorable   decision.     We    do   not   afford    the

  Commonwealth "special solicitude in [the] standing analysis,"

  Massachusetts v. EPA, 549 U.S. 497, 520 (2007), in light of its

  demonstration       of   fiscal   injury.     As   the    Commonwealth        has

  established standing under a traditional Article III analysis, we

  need not consider the Commonwealth's self-described "alternative

  basis" of parens patriae standing based on an alleged "injury to

  the Commonwealth's legally protected quasi-sovereign interests."

  See, e.g., Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel.,

  Barez, 458 U.S. 592, 600-02, 607 (1982).

        1.    Imminent Fiscal Injury to the Commonwealth

              The heart of the Departments' standing challenge is that

  the Commonwealth has not demonstrated an imminent injury.                    That

  requires us to decide whether the Commonwealth has adequately

  demonstrated that a fiscal injury is imminent due to the challenged

  federal regulations.        Of course, the Commonwealth need not wait

  for an actual injury to occur before filing suit.               See Adams, 10

  F.3d at 921 ("[I]t could hardly be thought that administrative

  action likely to cause harm cannot be challenged until it is too

  late." (quoting Rental Hous. Ass'n of Greater Lynn v. Hills, 548

  F.2d 388, 389 (1st Cir. 1977))).

              The imminence requirement is met "if the threatened

  injury is 'certainly impending' or there is a 'substantial risk'


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  that the harm will occur."       Susan B. Anthony List v. Driehaus, 573

  U.S. 149, 158 (2014) (quoting Clapper v. Amnesty Int'l, USA, 568

  U.S. 398, 409, 414 n.5 (2013)).        Either a certainly impending harm

  or substantial risk of harm suffices.            See Reddy v. Foster, 845

  F.3d 493, 500 (1st Cir. 2017).            We have considered risk of harm

  for Article III standing in a range of cases asserting different

  forms of injury, from allegations of future environmental harm,

  see Me. People's Alliance v. Mallinckrodt, Inc., 471 F.3d 277, 283

  (1st Cir. 2006), to future harm stemming from a store's policy of

  a "refusal to sell alcoholic beverages to a disabled person whose

  symptoms mimic the traits of intoxication," Dudley v. Hannaford

  Bros. Co., 333 F.3d 299, 301 (1st Cir. 2003).                   The "imminence

  concept, while . . . far reaching, is bounded by its Article III

  purpose:    'to    ensure   that    the     alleged    injury    is    not     too

  speculative.'"      Berner v. Delahanty, 129 F.3d 20, 24 (1st Cir.

  1997) (quoting Lujan, 504 U.S. at 564 n.2).

              The Commonwealth's argument that it faces an imminent

  fiscal    injury   proceeds    in   steps:    First,   it   argues      that   it

  established a substantial risk that the rules will cause women in

  the Commonwealth to lose their contraceptive coverage.                Second, it

  argues that it established a substantial likelihood that some of

  these women will then obtain state-funded contraceptive services

  or prenatal and postnatal care for unintended pregnancies, and

  thus that the Commonwealth will incur costs as a result.                 As for


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  those women who go forward with pregnancies because of the loss of

  contraceptive      services     or     the     loss   of   the     most   effective

  contraceptive devices, the Commonwealth states it "will incur

  costs providing pre- and post-natal care to some of the women who

  lose    contraceptive       coverage     and     consequently      experience       an

  unintended pregnancy."

               The Departments counter that the Commonwealth (1) has

  failed to show that employers therein "will use the expanded

  exemption under the challenged rules to deprive employees of

  contraceptive      coverage     they     previously        had";    (2)     has    not

  identified any particular women who would be affected by employers'

  use    of   the   exemptions;   and,     (3)     "[e]ven    assuming      that    some

  Massachusetts       women     will     lose     coverage     of     their     chosen

  contraceptive       method,"    the      Commonwealth       has     "fail[ed]       to

  demonstrate economic injury as a result."

               In our view, the Commonwealth has demonstrated that

  there is a substantial risk of fiscal injury to itself.                       It has

  made "rational economic assumptions," Adams, 10 F.3d at 923, and

  presented "concrete evidence." Clapper, 568 U.S. at 420.8                           We

  explain.



  8  Unlike in Clapper, the issue here is not whether a plaintiff
  would ever be subject to the challenged government policy (there,
  surveillance under the Foreign Intelligence Surveillance Act).
  See 568 U.S. at 411-14. No one disputes that, barring injunctions,
  employers in the Commonwealth would have been subject to the IFRs.


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              a.     The Commonwealth Has Shown There Are Employers
                     Likely to Use the Exemptions

              First, the Commonwealth established that there is a

  substantial      risk    that   some   women    in   Massachusetts   will    lose

  coverage due to the regulations.              It pointed to the Departments'

  Regulatory Impact Analysis, which estimated that between 31,715

  and 120,000 women would lose coverage.               From there, Massachusetts

  set forth that based on its 2.1 percent of the national population

  "and [a]djusting these figures to exclude women in fully-insured

  plans   covered     by    Massachusetts'       contraceptive   coverage     laws,

  between 373 and 1,414 Massachusetts women in self-insured plans

  will lose coverage because of the IFRs."                   The district court

  rejected what it deemed Massachusetts' "proportional theory,"

  relying in part on Summers v. Earth Island Inst., 555 U.S. 488

  (2009).     Massachusetts, 301 F. Supp. 3d at 259.                   Yet unlike

  Summers, this is not a case resting on unsupported "statistical

  probability" for organizational standing.               See Summers, 555 U.S.

  at 497-98.       Summers rejected as insufficient "self-descriptions"

  the plaintiff organization's assertions, as the Supreme Court

  characterized them, that "some (unidentified) members have planned

  to visit some (unidentified) small parcels affected by the Forest

  Service's procedures and will suffer (unidentified) concrete harm

  as a result."      Id.




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              Moreover, the Commonwealth has demonstrated that it is

  highly likely that at least three employers in the Commonwealth

  with   self-insured     health   plans        (that    is,    exempt    from   state

  regulation due to ERISA) will use the expanded exemptions, based

  in part on their past litigating positions or their past objections

  to providing contraceptive coverage. The three are Autocam Medical

  Devices,    LLC   ("Autocam"),        Hobby    Lobby       Stores,   Inc.   ("Hobby

  Lobby"), and Cummins-Allison Corporation ("Cummins-Allison"), all

  identified in the Departments' administrative record.9                          In a

  spreadsheet listing litigating entities likely to use the expanded

  exemptions, the Departments included both Autocam and Hobby Lobby,

  both employers in Massachusetts.              Additionally, the Departments

  included    Cummins-Allison      in    a   list       of    employers   using    the

  Accommodation that had notified the Departments of their religious




  9  Before the district court, the Commonwealth also listed Little
  Sisters of the Poor as a litigating entity operating in the
  Commonwealth. Massachusetts, 301 F. Supp. 3d at 261. Though this
  is technically correct, the Little Sisters of the Poor likely
  denied contraceptive coverage even before the IFRs.       As the
  Departments correctly point out, the Little Sisters of the Poor
  provided healthcare coverage through a self-insured church plan,
  which allowed them to effectively avoid the obligation to provide
  contraceptive care prior to the implementation of the IFRs. See
  Little Sisters of the Poor Home for the Aged, 794 F.3d at 1166-
  67.


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  objections to providing contraceptive coverage.10          See 82 Fed. Reg.

  47,817-18.

               The Commonwealth refers to data, which the Departments

  do not contest, stating that as of September 2018, Autocam employed

  over one hundred people in the Commonwealth, and Hobby Lobby

  operated four stores with employees in the Commonwealth.11                See

  Brief for Nat'l Women's Law Ctr. et al., as Amici Curiae in Support

  of Plaintiff-Appellant and in Favor of Reversal, at 7 nn.14, 15

  (2019).

               The Departments' record further supports standing in two

  respects.    First, the Departments acknowledge that for purposes of

  the Regulatory Impact Analysis, they assumed that the litigating

  entities, excluding previously exempt ones, would use the expanded

  exemption under the interim rules.              82 Fed. Reg. 47,817-18.

  Moreover, the Departments estimated that "just over half of the

  [estimated 209 previously accommodated entities] will use the

  expanded exemption."12        82 Fed. Reg. at 47,818.            Hence, the


  10  Cummins Allison had used the Accommodation process under the
  prior rules, but had not litigated against the Accommodation
  process.
  11 In Column H of the spreadsheets of "litigating entities" used
  for the Departments' Regulatory Impact Analysis, the Departments
  list the "number of [employees] counted towards final total." Both
  Autocam and Hobby Lobby have a positive number listed in Column H
  -- 183 for Autocam, 13,250 for Hobby Lobby -- and both have
  employees in the Commonwealth.
  12 The estimate of 209 employers using the accommodation process
  was made by HHS in 2014.   See 82 Fed. Reg. at 47,817-18.    The

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  Departments have done much of the legwork in establishing that

  there is a substantial risk (as opposed to a certainty) that at

  least Hobby Lobby, Autocam, and Cummins-Allison would choose to

  use the expanded exemptions.        See Davis, 554 U.S. at 735 (finding

  standing based on third party's likely behavior, and crediting

  evidence    in   the   record   that    "most   candidates    who   had   the

  opportunity to receive expanded contributions had done so").

              We turn to the argument that because the Commonwealth

  "cannot point to a single woman who will lose coverage she would

  otherwise    want,"    the   Commonwealth   lacks   standing.       First,   a

  plaintiff need not "demonstrate that it is literally certain that

  the harms they identify will come about."            Clapper, 568 U.S. at

  414 n.5.     The Departments' brief fails to cite the "substantial

  risk" standard drawn from Clapper and Susan B. Anthony List.              Its

  effort to recast the imminence requirement as one of near certainty

  does not comport with the law. Moreover, plaintiffs need not point

  to a specific person who will be harmed in order to establish


  Departments acknowledge a paucity of data concerning how many
  employers used the accommodation process, since employers were not
  required to inform the Departments that they were using that
  process.   Id. at 47,817.    A reasonable inference would be that
  more employers would have used the Accommodation process over time.
  Even if women employed by organizations who would use the exemption
  are not scattered proportionally by state, it is improbable based
  on the evidence that no women in the Commonwealth would lose
  contraceptive coverage.     See California II, 911 F.3d at 572
  ("Evidence supports that, with reasonable probability, some women
  residing in the plaintiff states will lose coverage due to the
  IFRs." (emphasis added)).


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  standing in situations like this.13         See Monsanto Co. v. Geertson

  Seed Farms, 561 U.S. 139, 153-55 (2015) (holding that plaintiffs,

  alfalfa farmers, had standing based on a causal chain, though

  plaintiffs did not identify particular alfalfa plants that had

  been, or would necessarily be, pollinated by bees who carried the

  genetically engineered gene at issue).           Hence, we agree with the

  statement of the Ninth Circuit that, though "[a]ppellants fault

  the [plaintiff] states for failing to identify a specific woman

  likely to lose coverage," "[s]uch identification is not necessary

  to establish standing."       California II, 911 F.3d at 572.14




  13  In Massachusetts v. EPA, the Commonwealth's declarations did
  not identify particular coastal land that had been lost or would
  necessarily be lost based on rising sea levels, but the Supreme
  Court found standing, stating that "the likelihood that
  Massachusetts' coastline will recede has nothing to do with whether
  [Massachusetts] ha[s] determined the precise metes and bounds of
  [its] soon-to-be-flooded land." 549 U.S. at 523 n.21. Similarly,
  the likelihood of a fiscal injury to the Commonwealth does not
  turn on the identification of specific women, and such
  identification is not required for standing here.
  14 Here, as the Commonwealth discusses in its reply brief, it is
  not clear how it could reasonably be expected to point to
  particular women affected by the IFRs, even if the IFRs or Final
  Rules were in effect and employers in the Commonwealth had used
  the exemptions.   Like the IFRs, the Final Rules do not require
  employers to notify the Commonwealth that they are using the
  exemptions, see 83 Fed. Reg. at 57,558; 83 Fed. Reg. at 57,614,
  nor do women have to tell the Commonwealth when they are seeking
  contraceptive care and services from a state-funded program.
  Indeed, medical privacy concerns cut against any such formal
  notification by women to the Commonwealth.


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              b.    The Commonwealth Has Shown Its Costs Will Most
                    Likely Rise with Increased Numbers of Women Using
                    State-Funded Contraceptive Care

              The   Commonwealth's     evidence      has    also    established   a

  substantial risk that a portion of the women who would lose

  contraceptive       coverage     would      then         obtain    state-funded

  contraceptive care or state-funded prenatal care for unintended

  pregnancies, and thus cause the Commonwealth to incur costs.                The

  evidence establishes the following: (1) the Commonwealth provides

  at least partially state-funded contraceptive services through

  MassHealth, which has about two million enrolled members, through

  the Massachusetts Department of Public Health, and through the

  University of Massachusetts Boston; (2) women with incomes up to

  300 percent of the federal poverty line usually can receive

  contraceptive care through programs funded by the Commonwealth's

  Department of Public Health; and (3) on average, about twenty-five

  percent of women in the Commonwealth who currently have employer-

  sponsored coverage could qualify for these state-funded programs

  because they (a) have "employer or union provided health insurance

  and . . . [b] have household insurance unit income[s] less than or

  equal to 300% of the [Federal Poverty Level]," adding up to 365,762

  between the ages of 15 and 45 who have employer or union provided




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  health insurance and are in household insurance units with income

  less than or equal to 300% of the federal poverty level.

              Applying     the    state's        calculation      that     at   least

  twenty-five percent of women who currently have employer-sponsored

  coverage will be eligible for state-funded care, and adjusting the

  upper and lower bound estimates of the Departments' Regulatory

  Impact Analysis to the Commonwealth's percentage of the national

  population, the Commonwealth set forth that 99 to 354 women that

  will likely lose coverage as a result of the regulations will

  qualify for state funded programs.             Considering that, based on the

  Departments'       Regulatory   Impact     Analysis,      the   annual    cost    of

  contraceptive coverage averages around $584 a year per woman, 82

  Fed. Reg. 47,821, the state estimated it will likely be liable for

  about $54,312 to $206,736 a year for contraceptive care.

              None of these statements have been seriously contested

  by the Departments (and besides, at the summary judgment stage,

  the "specific facts" "'set forth' [by a plaintiff] by affidavit or

  other evidence . . . will be taken as true," Lujan, 504 U.S. at

  561).      The   Commonwealth     has     indeed    produced     specific     facts

  regarding    the    imminent    injury,    and     they   go    well   beyond    the

  proportional theory on which the district court focused on.                      The

  Departments' attack on the accuracy of the numbers provided by the

  Commonwealth misses the point: the Commonwealth need not be exactly

  correct in its numerical estimates in order to demonstrate an


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  imminent fiscal harm.        Indeed, the Departments have assumed in

  their   own    regulatory    impact   analysis    that    "state   and    local

  governments will bear additional economic costs," California II,

  911 F.3d at 572, and the Commonwealth's evidence fleshes this out.

                The Departments' own estimate is based on average costs

  across the nation rather than what might be higher costs in the

  Commonwealth.     Even so, the average cost to the Commonwealth of a

  single woman relying fully on state-funded contraceptive care for

  one year would be $584 (if no portion was covered by other

  sources), based on the national estimate.             82 Fed. Reg. at 47,823.

  Whether costs to the Commonwealth are above or below this average,

  they are not zero.          The declaration submitted by the General

  Counsel of the Massachusetts Department of Public Health states

  that, based on the General Counsel's personal knowledge and review

  of relevant information, "[a]n increase in the prevalence of

  employer-sponsored insurance that does not provide coverage for

  comprehensive family planning services would likely result in an

  increase in the number of Massachusetts residents eligible for and

  receiving services funded" by the Commonwealth.

                And a birth resulting from the denial of contraceptive

  access will likely have significant costs to the Commonwealth as

  well.     A    2010   analysis   found   that   the    average   cost    to   the

  Commonwealth of an unplanned birth was $15,109 in maternity care

  and other healthcare in the first year of the child's life alone.


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  See Adam Sonfield & Kathryn Kost, Public Costs from Unintended

  Pregnancies and the Role of Public Insurance Programs in Paying

  for Pregnancy-Related Care: National and State Estimates for 2010,

  Guttmacher Inst., p.8 (Feb. 2015), https://www.guttmacher.org/

  sites/default/files/report_pdf/public-costs-of-up-2010.pdf.

              The Departments theorize about a hypothetical woman who

  loses coverage but is "able to pay out of pocket for contraceptive

  services" or "ha[s] access to such coverage through a spouse's (or

  parent's) plan."         Such a hypothetical woman may exist, but the

  number of women with incomes that make them eligible for state-

  assisted contraceptive coverage but who still fit in that category

  would,    logically,     be   very   small.     The    argument    is   largely

  irrelevant to the Commonwealth's claims of injury.

              c.     The Commonwealth Has Shown a Likely Chain of Events
                     for Standing

              The     Commonwealth's     "cause   and     effect     [chain    is]

  predicated on . . . probable market behavior."            Adams, 10 F.3d at

  923.     That     the   asserted   imminent   fiscal   injury     relies    on   a

  prospective chain of events does not defeat standing.              Indeed, the

  Supreme Court has found standing in cases involving causal chains

  more attenuated than this one.          In Monsanto, standing was found

  where the claim of injury was based on a causal chain of at least

  four steps: (1) "genetically engineered alfalfa seed fields [we]re

  . . . being planted in all the major alfalfa seed production



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  areas"; (2) "bees that pollinate alfalfa have a range of at least

  two to ten miles"; (3) the alfalfa seed farms at issue were in an

  area within the bees' range, due to the "compact geographic area

  of the prime alfalfa seed producing areas"; all of which, taken

  together, meant that (4) growers would incur injury by taking, for

  example, "certain measures to minimize the likelihood of potential

  contamination and to ensure an adequate supply of non-genetically-

  engineered alfalfa."           561 U.S. at 153 n.4 & 154-55 (internal

  quotation marks omitted); accord Clapper, 568 U.S. at 420.                    The

  Commonwealth has set forth predictions of injury, supported by

  evidence, that are even more likely than those in Monsanto, and

  thus    they       are   not   merely   a   "highly   attenuated      chain   of

  possibilities."          Clapper, 568 U.S. at 410.

         2.   The Alleged Injury is Concrete and Particularized

              The next question is whether the imminent injury alleged

  is concrete and particularized.             See Spokeo, Inc. v. Robins, 136

  S. Ct. 1540, 1548 (2016).          The Departments do not claim that the

  Commonwealth's alleged fiscal injury would not be both concrete

  and particularized.

              Concreteness        requires       something    "real,     and    not

  abstract."         Id. (internal quotation marks omitted).           An imminent

  fiscal injury, supported by evidence, as here, is a concrete

  injury.        A   sufficiently   particularized      injury   "affect[s]     the

  plaintiff in a personal and individual way."               Id. (quoting Lujan,


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  504 U.S. at 560 n.1).       The imminent financial harm alleged would

  impact     the   Commonwealth   in   an     "individual"   way.     So,     the

  Commonwealth's asserted imminent financial injury is concrete and

  particularized.

        3.     The Commonwealth Has Shown Causation and Redressability

               Causation    and   redressability      are    the    final     two

  requirements for Article III standing.            Lujan, 504 U.S. at 561-

  62.   The Departments do not contest that the alleged injury would

  be caused by the federal regulations and would be redressable by

  an injunction.       As to causation, the asserted imminent fiscal

  injury is clearly "fairly traceable to the challenged action,"

  Monsanto, 561 U.S. at 149, as we have described earlier.                  As to

  redressability, an injunction preventing the application of these

  exemptions would stop the alleged fiscal injury from occurring,

  making it not only "likely," Spokeo, 136 S. Ct. at 1547, but

  certain that this injury would not occur for as long as the

  exemptions are enjoined.

                                       III.

               In sum, the Commonwealth's substantive challenges to the

  Departments' federal regulations are not moot.               Its procedural

  challenge to the IFRs, however, has been mooted by the promulgation

  of the Final Rules, but this does not preclude the Commonwealth

  from asserting any procedural challenges to the Final Rules.

  Finally, the Commonwealth has Article III standing to challenge


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  the Departments' actions.        We vacate and remand for proceedings

  consistent with this opinion.

              VACATED AND REMANDED.




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